     Case 2:21-cv-02522-DDC-GEB Document 1 Filed 11/09/21 Page 1 of 23




                           UNITED STATES DISTRICT COURT
                                DISTRICT OF KANSAS

     Aimee Allen,                                      )
                                                       )
                                      Plaintiff,       )       Case No.:    2:21-cv-2522
                                                       )
             v.                                        )
                                                       )
     Equifax Information Services, LLC,                )
     Experian Information Solutions, Inc., and         )           COMPLAINT
     PennyMac Loan Services, LLC,                      )     WITH JURY TRIAL DEMAND
                                                       )
                                      Defendants.      )

          COMPLAINT SEEKING DAMAGES FOR VIOLATIONS OF THE
                     FAIR CREDIT REPORTING ACT

                                       INTRODUCTION

1.   The United States Congress has found the banking system is dependent upon fair and accurate

     credit reporting. Inaccurate credit reports directly impair the efficiency of the banking system,

     and unfair credit reporting methods undermine the public confidence, which is essential to the

     continued functioning of the banking system. Congress enacted the Fair Credit Reporting Act,

     15 U.S.C. § 1681 et seq. (“FCRA”), to ensure fair and accurate reporting, promote efficiency

     in the banking system, and protect consumer privacy. The FCRA seeks to ensure consumer

     reporting agencies exercise their grave responsibilities with fairness, impartiality, and a respect

     for the consumer’s right to privacy because consumer reporting agencies have assumed such

     a vital role in assembling and evaluating consumer credit and other information on consumers.

     The FCRA also imposes duties on the sources that provide credit information to credit

     reporting agencies, called “furnishers.”

2.   The FCRA protects consumers through a tightly wound set of procedural protections from the

     material risk of harms that otherwise flow from inaccurate reporting. Thus, through the FCRA,




                                                   1
      Case 2:21-cv-02522-DDC-GEB Document 1 Filed 11/09/21 Page 2 of 23




      Congress struck a balance between the credit industry’s desire to base credit decisions on

      accurate information, and consumers’ substantive right to protection from damage to

      reputation, shame, mortification, and the emotional distress that naturally follows from

      inaccurate reporting of a consumer’s fidelity to his or her financial obligations.

3.    Aimee Allen (“Plaintiff”), by Plaintiff’s attorneys, brings this action to challenge the actions

      of Defendants Equifax Information Services LLC (“Equifax”), Experian Information

      Solutions, Inc. (“Experian”), and PennyMac Loan Services, LLC (“PennyMac”) (jointly

      referred to as “Defendants”) with regard to inaccurate and/or materially misleading credit

      information and Defendants’ failure to properly investigate Plaintiff’s disputes.

4.    Defendants failed to properly investigate Plaintiff’s disputes, damaging Plaintiff’s

      creditworthiness.

5.    While many violations are described below with specificity, this Complaint alleges

      violations of the statutes cited in their entirety.

6.    Unless otherwise stated, all of the conduct engaged in by Defendants took place in Kansas.

7.    Defendants committed each of these violations knowingly, willfully, and intentionally, and

      Defendants did not maintain procedures reasonably adapted to avoid any such violation.

8.    Through this Complaint, Plaintiff does not allege that any state court judgment was entered

      against anyone in error, and Plaintiff does not seek to reverse or modify any judgment of

      any state court.

                                 JURISDICTION AND VENUE

9.    Jurisdiction of this Court arises pursuant to 28 U.S.C. § 1331.

10.   This Court has federal question jurisdiction because this case arises out of Defendants’

      violations of federal law—the FCRA.



                                                   2
      Case 2:21-cv-02522-DDC-GEB Document 1 Filed 11/09/21 Page 3 of 23




11.   Venue is proper pursuant to 28 U.S.C. § 1391 as all the events and omissions giving rise to

      Plaintiff’s claims occurred in Kansas.

12.   Defendants are subject to the Court’s personal jurisdiction, as Defendants each conduct

      business within Kansas, and Defendants’ conduct giving rise to this action accrued in

      Kansas.

13.   Plaintiff is informed and believes and thereon alleges that all acts of corporate employees

      as hereinafter alleged were authorized or ratified by an officer, director or managing agent

      of the corporate employer.

14.   Plaintiff is informed and believes and on that basis alleges that at all times mentioned herein

      Equifax was the principal, agent or employee and in acting as such principal or within the

      course and scope of such employment or agency, took some part in the acts and omissions

      hereinafter set forth by reason of which Equifax is liable to Plaintiff or the relief prayed for

      herein.

15.   Plaintiff is informed and believes and on that basis alleges that at all times mentioned herein

      Experian was the principal, agent or employee and in acting as such principal or within the

      course and scope of such employment or agency, took some part in the acts and omissions

      hereinafter set forth by reason of which Experian is liable to Plaintiff or the relief prayed for

      herein.

16.   Plaintiff is informed and believes and on that basis alleges that at all times mentioned herein

      PennyMac was the principal, agent or employee and in acting as such principal or within the

      course and scope of such employment or agency, took some part in the acts and omissions

      hereinafter set forth by reason of which PennyMac is liable to Plaintiff or the relief prayed for

      herein.




                                                  3
      Case 2:21-cv-02522-DDC-GEB Document 1 Filed 11/09/21 Page 4 of 23




                                           PARTIES

17.   Defendant Equifax is a limited liability company formed under the laws of the State of

      Georgia and doing business nationwide, including in the State of Kansas.

18.   Equifax’s registered agent address is: Corporation Service Company, 2900 SW

      Wanamaker Dr., Ste. 204, Topeka, KS 66614.

19.   Equifax regularly assembles and/or evaluates consumer credit information for the purpose

      of furnishing consumer reports to third parties and uses interstate commerce to prepare

      and/or furnish the reports. Accordingly, Equifax is a “consumer reporting agency” as that

      term is defined by 15 U.S.C. § 1681a(f).

9.    Unless otherwise indicated, the use of Equifax’s name in this Complaint includes all agents,

      employees, officers, members, directors, heirs, successors, assigns, principals, trustees,

      sureties, subrogees, representatives, and insurers of Equifax.

10.   Defendant Experian is an entity doing business in the State of Kansas.

11.   Defendant Experian’s registered agent address is: The Corporation Company, Inc., 112 SW

      7th Street, Suite 3C, Topeka, KS 66603.

12.   Defendant Experian regularly assembles and/or evaluates consumer credit information for the

      purpose of furnishing consumer reports to third parties and use interstate commerce to prepare

      and/or furnish the reports. Experian is a “consumer reporting agency” as that term is defined

      by 15 U.S.C. §1681a(f).

13.   Unless otherwise indicated, the use of Experian’s name in this Complaint includes all

      agents, employees, officers, members, directors, heirs, successors, assigns, principals,

      trustees, sureties, subrogees, representatives, and insurers of Experian.

14.   Defendant PennyMac is a limited liability company formed under the laws of the State of



                                                 4
      Case 2:21-cv-02522-DDC-GEB Document 1 Filed 11/09/21 Page 5 of 23




      Delaware and doing business nationwide, including in the state of Kansas.

15.   PennyMac’s registered agent address is: The Corporation Company, Inc., 112 SW 7 th

      Street, Suite 3C, Topeka, KS 66603.

16.   PennyMac regularly and in the ordinary course of business furnishes information to one or

      more consumer reporting agencies about consumer transactions, such as Plaintiff’s

      transactions at issue in this lawsuit and described herein, and is, therefore, a “furnisher” as

      that term is used in 15 U.S.C. § 1681s-2.

17.   Unless otherwise indicated, the use of PennyMac’s name in this Complaint includes all

      agents, employees, officers, members, directors, heirs, successors, assigns, principals,

      trustees, sureties, subrogees, representatives, and insurers of PennyMac.

                                 FACTUAL ALLEGATIONS

20.   On or about July 14, 2017, Plaintiff obtained a residential home mortgage from Busey

      Bank for the original principal amount of $121,754.00 (the “Mortgage”).

21.   The Mortgage is collateralized by residential real property located at 8001 Elizabeth Ave.,

      Kansas City, KS 66112, as evidenced by the mortgage recorded with the Wyandotte

      County, Kansas Register of Deeds, book/page number 2017R-10388.

22.   The Mortgage was subsequently transferred by Busey Bank, and eventually the servicing

      of the Mortgage landed in the hands of PennyMac.

23.   On or about February 27, 2020, Plaintiff filed a Chapter 13 Bankruptcy petition in the

      United States District Court for the District of Kansas, Case Number 20-20318 (the

      “Bankruptcy Case”).

24.   Plaintiff filed her First Amended Chapter 13 Plan in the Bankruptcy Case on or about May

      5, 2020 (the “Bankruptcy Plan”).




                                                  5
      Case 2:21-cv-02522-DDC-GEB Document 1 Filed 11/09/21 Page 6 of 23




25.   On or about July 17, 2020, the bankruptcy court entered an Order Confirming Chapter 13

      Plan.

26.   Pursuant to the terms of the confirmed Bankruptcy Plan, Plaintiff is required to pay her

      Mortgage payments directly to PennyMac.

27.   Plaintiff has faithfully made her monthly payments to PennyMac directly, as required by

      the terms of her confirmed Bankruptcy Plan.

28.   As a secured debt which will mature after the completion of the Bankruptcy, the Mortgage

      is considered to be a “Long Term Debt Not Subject to Discharge” pursuant to 11 U.S.C.

      § 1322(b)(5) and 11 U.S.C. § 1328(a)(1).

29.   This designation and treatment of the Mortgage in the Bankruptcy Case means that the

      Mortgage remains largely unaffected by the Bankruptcy Case.

30.   However, Defendants reported the mortgage on Plaintiff’s Equifax and Experian credit

      reports in an inaccurate and/or materially misleading way.

31.   Plaintiff’s creditors and potential creditors have accessed Plaintiff’s Equifax and Experian

      credit reports while the misreporting described herein was on Plaintiff’s credit reports and

      were misinformed by Defendants about Plaintiff’s credit worthiness.

       PennyMac and Equifax’s Inaccurate Reporting on the Equifax Credit Report

32.   On or about August 12, 2020, Plaintiff obtained a copy of her consumer report as

      published by Equifax.

33.   Upon Plaintiff’s review of the Mortgage tradeline (the “PennyMac Account”), she found

      that PennyMac and Equifax were reporting numerous incorrect remarks regarding the

      PennyMac Account.

34.   The Mortgage tradeline reported the PennyMac Account as “CLOSED”, the Account




                                                6
      Case 2:21-cv-02522-DDC-GEB Document 1 Filed 11/09/21 Page 7 of 23




      Status was reported as “INCLUDED_IN_CHAPTER_13,” there was no Reported

      Balance being reported, there was no Scheduled Payment Amount being reported, the

      Payment History was inaccurate, and the Comments section stated “Bankruptcy chapter

      13, Bankruptcy petition, Fixed rate.”

35.   By reporting     that   the   PennyMac       Account   was     “CLOSED”,   by   reporting

      “INCLUDED_IN_CHAPTER_13,” by failing to report a balance and                 a scheduled

      payment amount, by inaccurately reporting Plaintiff’s payment history, and by reporting

      “Bankruptcy chapter 13, Bankruptcy petition, Fixed rate” in the comments section of the

      PennyMac Account tradeline, Equifax and PennyMac were incorrectly making it appear

      as if the Mortgage had been closed and that it had been, or would be, discharged through

      the Bankruptcy Case.

36.   It is illegal and inaccurate for PennyMac and Equifax to report any derogatory collection

      information which is inconsistent with the Orders entered by the Bankruptcy Court.

37.   It is illegal and inaccurate for PennyMac and Equifax to report any derogatory collection

      information which was factually incorrect and/or materially misleading.

38.   However, PennyMac and Equifax either reported or caused to be reported inaccurate

      information after the Bankruptcy as discussed herein.

                              Plaintiff’s First Dispute to Equifax

39.   On or after September 8, 2020, Plaintiff disputed Equifax’s reporting of the PennyMac

      Account pursuant to 15 U.S.C. § 1681i by notifying Equifax, in writing, of the incorrect

      and inaccurate credit information.

40.   Plaintiff sent a letter to Equifax requesting the above inaccurate and incorrect derogatory

      information be updated, modified, or corrected as to the PennyMac Account (the “Equifax




                                               7
      Case 2:21-cv-02522-DDC-GEB Document 1 Filed 11/09/21 Page 8 of 23




      Dispute”).

41.   Specifically, Plaintiff explained in her dispute letter that the PennyMac Account was not

      closed, that the Mortgage was not a debt which would be discharged in the Bankruptcy

      Case, that she was current in her monthly payments, that a balance was owed on the

      Mortgage, and that the Mortgage was not included in the Bankruptcy Case.

42.   Plaintiff attached supporting documents to the Equifax Dispute, including a copy of a

      document provided to her by PennyMac entitled “Past Payments Breakdown”, which

      showed her Mortgage payment history, monthly payment amount, principal balance, and

      other relevant information.

43.   Equifax received the Equifax Dispute.

44.   Upon receipt of the Equifax Dispute, Equifax was required to conduct a reinvestigation

      into the PennyMac Account on Plaintiff’s consumer report pursuant to 15 U.S.C. § 1681i.

45.   Pursuant to 15 U.S.C. § 1681i, Equifax had a duty to notify PennyMac of Plaintiff’s

      Equifax Dispute within five business days of receiving the dispute, to forward the

      supporting documents submitted with Plaintiff’s Equifax Dispute for PennyMac’s review,

      to conduct a reasonable reinvestigation of the disputed information, and to correct the

      tradeline or delete it from Plaintiff’s consumer file.

46.   Pursuant to 15 U.S.C. § 1681s-2(b), PennyMac had a duty to conduct an investigation with

      respect to the disputed information, and to modify or delete that information appropriately.

47.   On information and belief, however, Equifax failed to send an Automated Consumer

      Dispute Verification (“ACDV”) to PennyMac as required by 15 U.S.C. §1681i, and the

      incorrect reporting remained.

48.   A reasonable investigation by Equifax and PennyMac would have indicated that they were




                                                 8
      Case 2:21-cv-02522-DDC-GEB Document 1 Filed 11/09/21 Page 9 of 23




      reporting the PennyMac Account inaccurately on the Equifax Credit Report.

49.   These events did not occur, however, and the inaccurate, false, and misleading information

      continued to be reported on Plaintiff’s Equifax credit report.

The Continued Inaccurate Reporting of the PennyMac Account on the Equifax Credit Report

50.   On or about February 3, 2021, Plaintiff obtained a copy of her consumer credit report as

      published by Equifax (the “Post Dispute Equifax Report”).

51.   Equifax failed to remove or correct the inaccurately reported information contained in the

      PennyMac Account tradeline.

52.   Instead, in the Post Dispute Equifax Report, PennyMac and Equifax continued to

      inaccurately report the PennyMac Account.

53.   Specifically, PennyMac and Equifax continued to report the PennyMac Account as

      “CLOSED,” they continued to report the status as “INCLUDED_IN_CHAPTER_13,” they

      continued to report no balance or scheduled payment amount, they continued to report an

      incomplete Payment History, and the comments section still stated “Bankruptcy chapter

      13, Bankruptcy petition, Fixed rate.”

54.   Additionally, Plaintiff discovered that PennyMac and Equifax were inaccurately reporting

      a Date of First Delinquency and a Delinquency First Reported date.

55.   On the Post Dispute Equifax Report, the Date of First Delinquency and a Delinquency First

      Reported did not actually correspond to an actual delinquency by Plaintiff on her Mortgage.

56.   Rather, the Date of First Delinquency and a Delinquency First Reported that appeared on

      her Post Dispute Equifax Report corresponded with the month that Plaintiff filed her

      Bankruptcy Case.

57.   PennyMac and Equifax made it incorrectly appear as though Plaintiff was late on her




                                               9
      Case 2:21-cv-02522-DDC-GEB Document 1 Filed 11/09/21 Page 10 of 23




       Mortgage in February 2020 when in fact she was not.

58.    Additionally, PennyMac and Equifax’s reporting was inaccurate because the result of its

       reporting was to make it appear as if the PennyMac Account was closed, that the PennyMac

       Account was or would be discharged in the Bankruptcy Case, and that Plaintiff was no

       longer making payments on the PennyMac Account and that she had in fact stopped

       making payments at or before the same time she filed the Bankruptcy Case.

59.    Equifax’s continued inaccurate reporting, failures to investigate or correct the inaccurately

       reported information on the PennyMac Account were particularly egregious in that the

       Equifax Dispute included supporting documents from PennyMac which Equifax chose to

       ignore.

                             Plaintiff’s Second Dispute to Equifax

60.    On or after July 22, 2021, Plaintiff again disputed Equifax’s reporting of the PennyMac

       Account pursuant to 15 U.S.C. § 1681i by notifying Equifax, in writing, of the incorrect

       and inaccurate credit information.

61.    Plaintiff sent a letter to Equifax requesting the above inaccurate and incorrect derogatory

       information be updated, modified, or corrected as to the PennyMac Account (the “Second

       Equifax Dispute”).

62.    Specifically, Plaintiff again explained in the Second Equifax Dispute that the PennyMac

       Account was not closed, that the Mortgage was not a debt which would be discharged in

       the Bankruptcy Case, that she was current in her monthly payments, that a balance was

       owed on the Mortgage, and that the Mortgage was not included in the Bankruptcy Case.

63.    Plaintiff went further in the Second Equifax Dispute to dispute Equifax’s inaccurate

       reporting of a date of first delinquency and delinquency first reported dates.




                                                10
      Case 2:21-cv-02522-DDC-GEB Document 1 Filed 11/09/21 Page 11 of 23




64.    Plaintiff attached supporting documents to the Equifax Dispute, including a copy of a

       “Notice of Mortgage Payment Change” filed by PennyMac in the Bankruptcy Case as well

       as a payment history provided to Plaintiff by PennyMac through its website.

65.    Equifax received the Second Equifax Dispute.

66.    Upon receipt of the Second Equifax Dispute, Equifax was required to conduct a

       reinvestigation into the PennyMac Account on Plaintiff’s consumer report pursuant to 15

       U.S.C. § 1681i.

67.    Pursuant to 15 U.S.C. § 1681i, Equifax had a duty to notify PennyMac of Plaintiff’s Second

       Equifax Dispute within five business days of receiving the dispute, to forward the

       supporting documents submitted with Plaintiff’s Second Equifax Dispute for PennyMac’s

       review, to conduct a reasonable reinvestigation of the disputed information, and to correct

       the tradeline or delete it from Plaintiff’s consumer file.

68.    Pursuant to 15 U.S.C. § 1681s-2(b), PennyMac had a duty to conduct an investigation with

       respect to the disputed information, and to modify or delete that information appropriately.

69.    Upon information and belief, Equifax notified PennyMac of Plaintiff’s dispute.

70.    Upon information and belief, PennyMac received notice of Plaintiff’s dispute as to the

       reporting of the PennyMac Account on Plaintiff’s Equifax Credit Report.

71.    A reasonable investigation by Equifax and PennyMac would have indicated that they were

       reporting the PennyMac Account inaccurately on the Equifax Credit Report.

72.    However, the inaccurate, false, and misleading information continued to be reported on

       Plaintiff’s Equifax credit report.

The Continued Inaccurate Reporting of the PennyMac Account on the Equifax Credit Report

73.    On or about September 9, 2021, Plaintiff obtained a copy of her consumer credit report as




                                                 11
      Case 2:21-cv-02522-DDC-GEB Document 1 Filed 11/09/21 Page 12 of 23




       published by Equifax (the “Post Second Dispute Equifax Report”).

74.    PennyMac and Equifax failed to remove or correct the inaccurately reported information

       contained in the PennyMac Account tradeline.

75.    Instead, in the Post Second Dispute Equifax Report, PennyMac and Equifax continued to

       inaccurately report the PennyMac Account.

76.    Specifically, PennyMac and Equifax continued to report the PennyMac Account as

       “CLOSED,” they continued to report the status as “INCLUDED_IN_CHAPTER_13,” they

       continued to report no balance or scheduled payment amount, they continued to report an

       incomplete Payment History, the comments section still stated “Bankruptcy chapter 13,

       Bankruptcy petition, Fixed rate”, and the Date of First Delinquency and Delinquency First

       Reported dates remained.

77.    PennyMac and Equifax also continued to inaccurately report that Plaintiff had a Date of

       First Delinquency and Date of First Delinquency First Reported of February 2020.

78.    PennyMac and Equifax’s reporting was inaccurate because the result of its reporting was

       to make it appear as if the PennyMac Account was closed, that the PennyMac Account was

       or would be discharged in the Bankruptcy Case, that Plaintiff was late on the PennyMac

       Account before filing the Bankruptcy Case, and that Plaintiff was no longer making

       payments on the PennyMac Account.

79.    PennyMac and Equifax’s continued inaccurate reporting and failures to investigate or

       correct the inaccurately reported information on the PennyMac Account were particularly

       egregious in that the Second Equifax Dispute included supporting documents from

       PennyMac which PennyMac and Equifax chose to ignore.




                                              12
      Case 2:21-cv-02522-DDC-GEB Document 1 Filed 11/09/21 Page 13 of 23




       PennyMac and Experian’s Inaccurate Reporting on the Experian Credit Report

80.    Suspecting that the inaccurate reporting from the Equifax credit reports may additionally

       be reflected on her other credit reports, Plaintiff reviewed a copy of her consumer report

       as published by Experian on or before July 22, 2021.

81.    Upon Plaintiff’s review of the Mortgage tradeline (the “PennyMac Account”), she found

       that PennyMac and Experian were reporting numerous incorrect remarks regarding the

       PennyMac Account.

82.    The Mortgage tradeline on the Experian credit report was reporting no balance, no

       monthly payment, a payment history that stopped as of the date the Bankruptcy Case was

       filed, and a Status of “Petition for Chapter 13 Bankruptcy/Never Late.”

83.    By failing to report a balance, monthly payment amount, or payment history past the date

       that the Bankruptcy Case was filed, and by reporting the PennyMac Account to include

       bankruptcy information, PennyMac and Experian created the false impression that the

       Mortgage would be or had already been discharged through the Bankruptcy Case when

       that was not true.

84.    It is illegal and inaccurate for PennyMac and Experian to report any derogatory collection

       information which is inconsistent with the Orders entered by the Bankruptcy Court.

85.    It is illegal and inaccurate for PennyMac and Experian to report any derogatory collection

       information which was factually incorrect and/or materially misleading.

86.    However, PennyMac and Experian either reported or caused to be reported inaccurate

       information after the Bankruptcy as discussed herein.

                                Plaintiff’s Dispute to Experian

87.    On or after July 22, 2021, Plaintiff disputed Experian’s reporting of the PennyMac Account




                                               13
      Case 2:21-cv-02522-DDC-GEB Document 1 Filed 11/09/21 Page 14 of 23




       pursuant to 15 U.S.C. § 1681i by notifying Experian, in writing, of the incorrect and

       inaccurate credit information.

88.    Plaintiff sent a letter to Experian requesting the above inaccurate and incorrect derogatory

       information be updated, modified, or corrected as to the PennyMac Account (the “Experian

       Dispute”).

89.    Specifically, Plaintiff explained in her dispute letter that the PennyMac Account bore a

       current balance and monthly payment, that she had been timely making all required

       payments after the date the Bankruptcy Case was filed, and that PennyMac and Experian’s

       reporting that the PennyMac Account was included in bankruptcy was false and/or

       misleading.

90.    Plaintiff attached supporting documents to the Experian Dispute, including a “Notice of

       Mortgage Payment Change” which had been filed by PennyMac in the Bankruptcy Case

       as well as a loan activity and payment history which was provided to Plaintiff by PennyMac

       through its website.

91.    Experian received the Experian Dispute.

92.    Upon receipt of the Experian Dispute, Experian was required to conduct a reinvestigation

       into the PennyMac Account on Plaintiff’s consumer report pursuant to 15 U.S.C. § 1681i.

93.    Pursuant to 15 U.S.C. § 1681i, Experian had a duty to notify PennyMac of Plaintiff’s

       Experian Dispute within five business days of receiving the dispute, to forward the

       supporting documents submitted with Plaintiff’s Equifax Dispute for PennyMac’s review,

       to conduct a reasonable reinvestigation of the disputed information, and to correct the

       tradeline or delete it from Plaintiff’s consumer file.

94.    Pursuant to 15 U.S.C. § 1681s-2(b), PennyMac had a duty to conduct an investigation with




                                                 14
       Case 2:21-cv-02522-DDC-GEB Document 1 Filed 11/09/21 Page 15 of 23




         respect to the disputed information, and to modify or delete that information appropriately.

95.      Upon information and belief, Experian notified PennyMac of Plaintiff’s dispute.

96.      Upon information and belief, Penny Mac received notice of Plaintiff’s dispute as to the

         reporting of the PennyMac Account on Plaintiff’s Experian Credit Report.

97.      A reasonable investigation by Experian and PennyMac would have indicated that they were

         reporting the PennyMac Account inaccurately on the Experian Credit Report.

98.      However, the inaccurate, false, and misleading information continued to be reported on

         Plaintiff’s Experian credit report.

      The Continued Inaccurate Reporting of the PennyMac Account on the Experian Credit

                                               Report

99.      On or after August 9, 2021, Plaintiff received her Dispute Results from Experian (the

         “Experian Dispute Results”).

100.     PennyMac and Experian failed to remove or correct the inaccurately reported information

         contained in the PennyMac Account tradeline.

101.     Instead, in the Experian Dispute Results, PennyMac and Experian continued to

         inaccurately report the PennyMac Account.

102.     Specifically, Penny Mac and Experian continued to report the PennyMac Account with no

         balance or monthly payment amount, they continued to omit any payment history past the

         month the Bankruptcy Case was filed, and they continued to report the account as “Petition

         for Chapter 13 Bankruptcy/Never late”.

103.     PennyMac and Experian’s reporting was inaccurate because the result of its reporting was

         to make it appear as if Plaintiff’s PennyMac Account had been or would be discharged

         through her Bankruptcy Case, that no balance or monthly payment was owed, and that




                                                  15
       Case 2:21-cv-02522-DDC-GEB Document 1 Filed 11/09/21 Page 16 of 23




        Plaintiff had not made any payments since or before her Bankruptcy Case was filed.

104.    PennyMac and Experian’s continued inaccurate reporting, failures to investigate or correct

        the inaccurately reported information on the PennyMac Account were particularly

        egregious in that the Experian Dispute included supporting documents from PennyMac

        which PennyMac and Experian chose to ignore.

          The Impact of Inaccurate or Misleading Information on Consumer Reports

105.    A “Consumer Report”, as defined by 15 U.S.C. § 1681a(d)(1), impacts a consumer’s

        eligibility for:

                i.         credit or insurance to be used primarily for personal, family, or household

                           purposes;

                ii.        employment purposes; or

                iii.       any other purpose authorized under section 1681b.

106.    As a result, the information held within a consumer report impacts not only a consumer’s

        credit worthiness, rating, and capacity, but also the character, general reputation, and

        personal characteristics of the consumer.

107.    A Federal Trade Commission study mandated by Congress on credit report accuracy (“FTC

        Study”) found that one in five consumers had an error on at least one of their three major

        credit reports (Equifax, Experian, and Trans Union), with some consumers experiencing

        inaccuracies       that   can   depress    credit   scores   by    over   100    points.   See

        https://www.ftc.gov/news-events/press-releases/2013/02/ftc-study-five-percent-

        consumers-had-errors-their-credit-reports.

108.    The FTC Study found that the types of errors on consumer reports could lead to consumers

        paying more for products such as auto loans and insurance. See https://www.ftc.gov/news-




                                                    16
       Case 2:21-cv-02522-DDC-GEB Document 1 Filed 11/09/21 Page 17 of 23




        events/press-releases/2013/02/ftc-study-five-percent-consumers-had-errors-their-credit-

        reports.

                                          Credit Scoring

109.    The Fair Isaac Corporation credit risk scoring system, commonly referred to as “FICO”, is

        the leading credit scoring system and utilizes data reported by credit reporting agencies.

        See, https://www.myfico.com/credit-education/credit-scores/.

110.    Defendants’ departures from the credit industry’s own reporting standards have caused

        Plaintiffs’ to suffer from reduced FICO credit scores.

111.    The Fair Isaac Corporation uses the data in consumer reports to calculate consumers’ credit

        scores (also known as credit risk scores). Id. The term “credit score” is a numerical value

        or a categorization derived from a statistical tool or modeling system used by a person who

        makes or arranges a loan to predict the likelihood of certain credit behaviors, including

        default. Consumer Financial Protection Bureau, Supervision and Examination Manual,

        Version        2       (October        2012),        p.        53,      available         at

        http://files.consumerfinance.gov/f/201210_cfpb_supervision-and-examination-manual-

        v2.pdf, archived at http://perma.cc/JF32-RFAA.

112.    FICO scores are calculated from five main categories of credit data in a consumer’s credit

        report. Those categories, and their weighted values, are as follows: payment history

        accounts for 35% of a consumer’s FICO score; debt/amounts owed accounts for 30% of a

        consumer’s FICO score; age/length of credit history accounts for 15% of a consumer’s

        FICO score; new credit/recent inquiries accounts for 10% of a consumer’s FICO score; and

        mix of accounts/types of credit accounts for 10% of a consumer’s FICO score. See,

        https://www.myfico.com/credit-education/whats-in-your-credit-score/,       archived       at




                                                17
       Case 2:21-cv-02522-DDC-GEB Document 1 Filed 11/09/21 Page 18 of 23




        https://perma.cc/E8Y3-F4AA.

113.    Payment history is the most important aspect of a consumer’s credit score because it shows

        how the consumer has managed his finances, including any late payments. Credit history

        is also very important, as it demonstrates how long the consumer has been managing his

        accounts, when his last payments were made, and any recent charges. See,

        https://www.transunion.com/credit-score, archived at https://perma.cc/NRZ4-W83U.

114.    The cost of credit (e.g., interest rates, fees, etc.), the availability of credit, ratings for

        insurance products, and even unsolicited credit offers, such as the opportunity to refinance

        a mortgage at a lower interest rate, extended financing periods and lower rate auto loans,

        and even zero-percent financing credit offers for in-store credit lines, are all, by and large,

        driven by a consumer’s credit score.

115.    Inaccurate or incorrect credit reporting very often results in a lower FICO and other credit

        scoring model scores, and thus higher costs of credit, diminished opportunity, and less

        purchasing power for consumers.

116.    Incorrectly reporting the tradeline of Plaintiff’s Mortgage—which is open, active, and has

        a balance that Plaintiff is making payments on—with no balance, payment data, and as

        included in bankruptcy, adversely affects Plaintiff’s FICO score, as it excludes any recent

        positive payment history associated with the Mortgage, it alters the age/length of credit

        history, and it alters the mix of accounts/types.

117.    There is no established rule or threshold for classifying the significance of a credit score

        change as minor or major because the impact of a change in score is dependent on the

        current score. For example, a one-point change in credit score that moves the consumer

        from one risk tier to the next may have a large impact on the consumer’s access to credit




                                                  18
       Case 2:21-cv-02522-DDC-GEB Document 1 Filed 11/09/21 Page 19 of 23




        or the products and rates the consumer is able to secure.

118.    Consistent with FTC study, the Fair Isaac Corporation states that inaccurate or incorrect

        information       on     a   consumer’s   credit   report   can   hurt   their   score.   See,

        https://www.myfico.com/credit-education/questions/fix-errors-on-credit-report/,

        archived at https://perma.cc/9TQN-S5WP.

                               Defendants’ Failures and Plaintiff’s Damages

119.    It is inaccurate to report an account as Closed when it is not.

120.    It is inaccurate to report a payment history which is factually incorrect and negatively

        reflects upon an individual consumer’s credit profile by making it appear that the consumer

        has failed to satisfy and live up to their monthly credit obligations.

121.    It is inaccurate to report that an account is included in and/or discharged in bankruptcy

        when it is not.

122.    Reporting an account was "included in bankruptcy" has no meaningful different from

        reporting that an account was “discharged in bankruptcy”—that is, the phrases are viewed

        as having the same meaning. See Diaz v. Trans Union, LLC, No. 1:18-cv-01341-DAD-

        EPG, 2019 U.S. Dist. LEXIS 95549, at *7 (E.D. Cal. June 5, 2019) “Indeed, many courts

        considering this very issue have concluded that "[t]here is no meaningful difference

        between the phrase `included in bankruptcy' and the phrase `discharged in bankruptcy.’”)

        (citing Butler v. Equifax Info. Servs., LLC, No. 5:18-cv-02084-JGB-SHK (C.D. Cal. Apr.

        3, 2019); Smith v. Trans Union, LLC, No. 2:18-cv-13098-GCS-SDD (E.D. Mich. May 10,

        2019); Fleming v. Trans Union, LLC, No. 2:18-cv-9785-PA-PLA (C.D. Cal. March 8,

        2019).

123.    It is inaccurate to report an account as CHAPTER 13 BANKRUPTCY when the account




                                                   19
       Case 2:21-cv-02522-DDC-GEB Document 1 Filed 11/09/21 Page 20 of 23




        was not included in a bankruptcy plan and instead is an account the consumer is paying

        directly to the creditor.

124.    As evidenced by Defendants’ failures to correct the reporting of the PennyMac Account

        despite receiving Plaintiff’s disputes to both Equifax and/or Experian, and the supporting

        documents attached to those disputes, Equifax and/or Experian failed to follow reasonable

        procedures to assure maximum possible accuracy of the information concerning the

        individual about whom the report relates as required by and in violation of 15 U.S.C. §

        1681e(b).

125.    As evidenced by the inaccurate re-reporting after Plaintiff sent Equifax and Experian

        detailed disputes identifying the inaccurate information related to Plaintiff’s PennyMac

        Account, Defendants, upon receipt of Plaintiff’s disputes, each respectively failed to

        conduct proper and reasonable reinvestigations concerning the inaccurate information after

        receiving notice of the dispute from Plaintiff in violation of 15 U.S.C. §1681i and/or 15

        U.S.C. § 1681s-2(b).

126.    Defendants failed to review all relevant information provided by Plaintiff in the disputes to

        Defendants, as required by and in violation of 15 U.S.C. § 1681i and/or 15 U.S.C. § 1681s-

        2(b).

127.    Due to Defendants’ failure to reasonably investigate, Defendants further failed to correct and

        update Plaintiff’s information as required by 15 U.S.C. § 1681i and/or 15 U.S.C. § 1681s-2(b),

        thereby causing continued reporting of inaccurate information in violation of 15 U.S.C. § 1681i

        and/or 15 U.S.C. § 1681s-2(b).

128.    Defendants’ continued inaccurate and negative reporting of the PennyMac Account in light

        of its knowledge of the actual error was willful. Plaintiff is, accordingly, eligible for




                                                  20
       Case 2:21-cv-02522-DDC-GEB Document 1 Filed 11/09/21 Page 21 of 23




        statutory damages.

129.    Reckless disregard of a requirement of the FCRA qualifies as a willful violation of the

        FCRA within the meaning of § 1681n(a). See Safeco Ins. Co. of Am. v. Burr, 551 U.S. 47,

        71 (2007).

130.    Based upon Defendants’ knowledge of the Account, even if Defendants could claim they

        did not willfully violate the FCRA, their conduct was at the very least done with reckless

        disregard of their obligations under 15 U.S.C. § 1681e(b), and/or 15 U.S.C. § 1681i, and/or

        15 U.S.C. § 1681s-2(b).

131.    Also as a result of Defendants’ continued inaccurate and negative reporting, Plaintiff has

        suffered actual damages, including, without limitation, fear of credit denials, actual credit

        denials, reduced credit scores, emotional distress, frustration, missed personal time in order

        to tend to this matter, vehicle operating costs for miles driving in order to tend to this

        matter, and inconvenience.

132.    By inaccurately reporting account information, Defendants acts and omissions have

        resulted in the illegitimate suppression of Plaintiff’s FICO credit scores and other credit

        rating model scores.

133.    The adverse effect on Plaintiff’s credit score places Plaintiff at the material risk of being

        denied credit or receiving less favorable credit terms than they otherwise would.

134.    The existence of consumer reports which inaccurately report the Mortgage, and/or falsely

        suggest that the Mortgage has been discharged or is subject to discharge, make it inherently

        more difficult for Plaintiff to refinance her Mortgage in the future.

135.    The inaccurate information negatively reflects upon Plaintiff, Plaintiff’s credit repayment

        history, Plaintiff’s financial responsibility as a debtor, and Plaintiff’s credit worthiness.




                                                  21
       Case 2:21-cv-02522-DDC-GEB Document 1 Filed 11/09/21 Page 22 of 23




136.    By inaccurately reporting account information after notice and confirmation of its errors,

        Defendants failed to take the appropriate measures as required under 15 U.S.C. § 1681i

        and/or 15 U.S.C. § 1681s-2(b).

                                       First Cause of Action
                                  The Fair Credit Reporting Act
                                  15 U.S.C. § 1681 et seq. (FCRA)

137. Plaintiff repeats, re-alleges, and incorporates by reference all above paragraphs as if fully

       set forth herein.

138. The foregoing acts and omissions constitute numerous and multiple violations of the FCRA.

139. As a result of each negligent violation of the FCRA, Plaintiff is entitled to actual damages

       from Defendants, pursuant to 15 U.S.C. § 1681o(a)(1); and reasonable attorney’s fees and

       costs pursuant to 15 U.S.C. § 1681o(a)(2).

140. As a result of each and every willful violation of the FCRA, Plaintiff is entitled to actual

       damages or damages of not less than $100.00 and not more than $1,000.00, pursuant to 15

       U.S.C. §1681n(a)(1)(A); punitive damages as the court may allow, pursuant to 15 U.S.C. §

       1681n(a)(2); and costs together with reasonable attorney’s fees pursuant to 15 U.S.C.

       §1681n(a)(3) from Defendants.

141. Defendants’ conduct was a direct and proximate cause, as well as a substantial factor, in

       bringing about the actual damages and harm to Plaintiff that are outlined more fully above,

       and as a result, Defendants are liable to Plaintiff for the full amount of statutory, actual, and

       punitive damages, along with attorney’s fees and costs of litigation.

                                       Request for Jury Trial

142. Pursuant to the Seventh Amendment to the Constitution of the United States of America,

       Plaintiff is entitled to, and demands, a trial by jury.



                                                   22
     Case 2:21-cv-02522-DDC-GEB Document 1 Filed 11/09/21 Page 23 of 23




                                        Prayer For Relief

       Wherefore, Plaintiff respectfully requests the Court grant Plaintiff the following relief

against Defendants:

       1. A declaratory judgment that Defendants’ actions as discussed herein are unlawful;

       2. Plaintiff’s actual damages;

       3. Statutory damages of not less than $100 and not more than $1,000.00 to Plaintiff,

          pursuant to 15 U.S.C. § 1681n(a)(1), against Defendants;

       4. Punitive damages, pursuant to 15 U.S.C. § 1681n(a)(2);

       5. An award of costs of litigation and reasonable attorney’s fees, pursuant to 15 U.S.C. §§

          1681n(a)(3) and/or 1681o(a)(2), against Defendants; and

       6. Any other relief the Court may deem just and proper.

                                                    Respectfully submitted,

                                                    /s/ James R. Crump
                                                    James R. Crump #78704
                                                    Ryan M. Callahan #25363
                                                    Callahan Law Firm, LLC
                                                    222 W. Gregory Blvd., Suite 210
                                                    Kansas City, MO 64114-1138
                                                    Ph: 816-822-4041
                                                    ryan@callahanlawkc.com
                                                    james@callahanlawkc.com
                                                    Attorneys for Plaintiff




                                               23
